Case 16-00031-5-SWH           Doc 12 Filed 07/11/16 Entered 07/11/16 16:57:03                Page 1 of 4




                             UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF NORTH CAROLINA
                                   WILMINGTON DIVISION


  In re:

  LARRY ALBERT HURLBURT,                                            Case #16-01964-5-SWH
                                                                         (Chapter 13)
                                              Debtor


  LARRY ALBERT HURLBERT,
                                             Plaintiff              Adversary Proceeding #
  v.
                                                                       16-00031-5-SWH
  JULIET J. BLACK,

                                           Defendant



                       JOINT PRECONFERENCE REPORT
                          Local Bankruptcy Rule 7016-1(a)
 ______________________________________________________________________________

 Appearances:

 For the Plaintiff:       Richard P. Cook
 For the Defendant:       James Oliver Carter

 Plaintiff and Defendant file this Joint Preconference Report pursuant to Local Bankruptcy Rule
 7016-1(a) and the June 13, 2016 Bankruptcy Court order entered in this adversary proceeding:

 A. Issues Raised By The Pleadings. The issues raised by the pleadings are:

           1. Defendant’s Motions to Dismiss: Whether the Chapter 13 trustee is a necessary party
              and whether the Bankruptcy Court has jurisdiction without joinder of the Chapter 13
              trustee.

           2. As to Plaintiff’s 1st claim for relief: Whether Defendant’s deed of trust is a valid lien
              against Plaintiff’s real estate.

           3. As to Plaintiff’s 2nd claim for relief: Whether Plaintiff can avoid the lien of Defendant’s
              deed of trust.
Case 16-00031-5-SWH       Doc 12 Filed 07/11/16 Entered 07/11/16 16:57:03               Page 2 of 4




       4. As to Plaintiff’s 3rd Claim for Relief (Objection to Claim): Does Defendant have a
          valid claim in Plaintiff’s bankruptcy estate and, if so, what is the nature and amount of
          that claim.

       5. Defendant’s 1st Affirmative Defense – Waiver: Whether Plaintiff has waived his right
          to deny the validity of the party’s indebtedness and the validity of the deed of trust.

       6. Defendant’s 2nd Affirmative Defense – Estoppel: Whether Plaintiff has estopped from
          denying the validity of the party’s indebtedness and the validity of the deed of trust.

       7. Defendant’s 3rd Affirmative Defense – Statute of Limitations: Whether Plaintiff’s first
          and second claims for relief are barred by the applicable statute of limitations for
          asserting those claims.

 B. Issues Concerning Jurisdiction, Venue, or Authority of the Bankruptcy Court.

     Defendant has raised a question as to whether the bankruptcy court has subject-matter
     jurisdiction over this adversary proceeding in the absence of the Chapter 13 trustee being a
     party hereto. Otherwise, the parties stipulate pursuant to 28 USC 1334 and 28 USC 157(a),
     and that the U.S. Bankruptcy Court Eastern District of North Carolina is the proper venue for
     the trial of this action.

 C. Core vs. Non-Core Questions.

       1. The parties agree that the claims raised by the pleadings are core issues. To the extent
          they are not, the parties consent to a trial and entry of a final judgment by the
          bankruptcy court.

 D. Pending Motions.

       1. Defendant’s motion to dismiss Plaintiff’s complaint pursuant to Rule 12(b)(1) for lack
          of the court’s subject-matter jurisdiction.

       2. Defendant’s motion to dismiss Plaintiff’s complaint pursuant to Rule 12(b)(7) for
          failure to join a necessary party.

       3. The parties request that the pending motions be calendared for hearing at the same time
          as the preliminary pretrial conference.

 E. Amendments to Pleadings, Joinder of Additional Parties, Filing Additional Motions, and
    Discovery.

       1. The parties are not aware of any amendments that need to be made to the pleadings at
          this time.




                                                2
Case 16-00031-5-SWH         Doc 12 Filed 07/11/16 Entered 07/11/16 16:57:03                 Page 3 of 4




        2. a. Defendant believes the Chapter 13 trustee is a necessary party to this adversary
              proceeding. Defendant requests that this issue be resolved at the earliest possible
              time and before scheduling and other deadlines are imposed upon the parties.

            b. The parties are not aware of the need to join any other parties, other than
               Defendant’s contention that the chapter 13 trustee must be a party, but Plaintiff and
               Defendant reserve the right to move the court, within the deadlines in the
               scheduling order, that other parties be added. All parties reserve their right to object
               to such motions.

        3. The parties do not believe any additional motions will be necessary but reserve the
           right to file summary judgment motions and any other motions either party deems
           appropriate.

        4. Discovery matters are addressed in G and H below

 F.   Deadline for Rule 26(a)(1) Disclosures. The Rule 26(a)(1) disclosures shall be made within
      30 days after the date of the scheduling order to be entered in this matter.

 G. Time Needed for Discovery.

        1. The parties will complete discovery within 90 days after the deadline for exchange of
           initial disclosures to be exchanged in this matter.

 H. Changes in Limitations on Discovery.

        1. The parties do not anticipate a need to change the standard discovery limitations in
           Rule 30(a)(2)(A) and Rule 33(a) of the Rules of Civil Procedure; namely 25
           interrogatories and 10 depositions each.

 I.   Expert Witnesses.

        1. Plaintiff and Defendant may use expert witnesses.

        2. If expert witnesses are used, the Rule 26(a)(2) disclosures regarding expert witnesses
           and testimony shall be made within the times specified in Rule 26(a)(2): 90 days before
           the trial date or, if the evidence is solely to contradict or rebut expert, 30 days after the
           disclosure by the other party.

        3. Each party shall be allowed an additional 30 days after disclosure of expert witnesses
           by the opposing party to take the deposition of or conduct additional discovery as to
           the expert witness disclosed.

 J.   Jury Demand.

        1. Neither party has demanded a jury trial.


                                                  3
Case 16-00031-5-SWH        Doc 12 Filed 07/11/16 Entered 07/11/16 16:57:03            Page 4 of 4




 K. Settlement Discussions. The topic of settlement has been mentioned but the parties have not
    had any specific settlement discussions at this time.

 L. Mediation/Arbitration. The parties are willing to participate in court ordered mediation.

 M. Additional Pre-trial Conferences. The parties desire to have a final pretrial conference.

 N. Testimony by Video Conference. The parties are not aware of any witnesses who will need
    to testify by video conferencing.

 Respectfully submitted:

                                            FOR THE PLAINTIFF:

                                            RICHARD P. COOK, PLLC


                                             /s/ Richard P. Cook
                                            Richard P. Cook
                                            Attorneys for Plaintiff
                                            NC Bar 37614
                                            7036 Wrightsville Ave., Suite 101
                                            Wilmington, NC 28403
                                            Telephone: (910) 399-3458
                                            Email: CapeFearDebtRelief@gmail.com


                                            Date: July 11, 2016


                                            FOR THE DEFENDANT:

                                            CARTER & CARTER, P.A.


                                             /s/ James Oliver Carter
                                            James Oliver Carter, NC State Bar #6073
                                            408 Market Street
                                            Wilmington, NC 28401
                                            Phone: 910/763-3626
                                            E-mail: joc@carterandcarterlaw.com
                                            Attorneys for Defendant Juliet J. Black


                                            Date: July 11, 2016


                                               4
